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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

NORTHEAST INDUSTRIES LLC and :
JOSEPH DELUCA, : NO. 2:18-CV-04379-JS

Plaintiffs,
Vv.

ON TARGET LABORATORIES LLC, ON
TARGET LABORATORIES INC., and
MARTIN LOW

Defendants.

DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

Pursuant to Federal Rule of Civil Procedure 56, Defendants On Target Laboratories, LLC,
On Target Laboratories, Inc. and Martin Low, hereby move for an entry of an Order dismissing
Plaintiffs’ Complaint. The further grounds for this Motion are stated more fully in the
accompanying Statement of Undisputed Facts, Memorandum of Law and exhibits, which are

incorporated by reference as if set forth in full herein.

Respectfully Submitted,

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Counsel for Defendants

On Target Laboratories LLC, On Target

Laboratories Inc. and Martin Low
Date: 5/21/19
